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              UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                     APPLICATION FOR PRO HAC VICE ADMISSION

                                    CONTACT INFORMATION

 Local Counsel:                   Kyle F. Reeder
 Firm:                            Cannon Law Group
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 Pro Hac Vice Applicant:          Benjamin Barr
 Firm:                            Barr & Klein PLLC
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 An applicant who intend to become a                     ☐ Admission by Bar Examination
 member of the Utah State Bar, please                    ☐ Admission by UBE Transfer
 identify the type of admission you seek:                ☐ Motion/Reciprocal

                          STATE AND FEDERAL BAR MEMBERSHIPS

                   Jurisdiction                       Bar Number          Date of Admission
 Illinois                                         6274521               2001
 First Circuit                                                           2017
 Second Circuit                                                          2010
 Seventh Circuit                                                         2003
 Tenth Circuit                                                           2012
 Ninth Circuit                                                           2021

 Have you ever been the subject of disciplinary action         ☐ Yes           ☒ No
 by any bar or court to which you have been admitted?

If yes, please explain:



                                                 1
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               LIST PRO HAC VICE ADMISSIONS TO THE DISTRICT OF UTAH
                              IN THE PREVIOUS 5 YEARS

                   Case Name                            Case Number          Date of Admission




If you have been admitted pro hac vice in 3 unrelated cases in this district in the previous 5
years, please explain your reason(s) for not seeking admission to the Utah State Bar:




 I certify that I am a member in good standing              ☒ Yes              ☐ No
 of all bars and courts to which I have been admitted.
 I certify that I have read and will comply with            ☒ Yes              ☐ No
 the Utah Rules of Professional Conduct and
 the Utah Standards of Professionalism and
 Civility.
 I certify that I am not a member of the Utah State         ☒ Yes              ☐ No
 Bar.
 I certify that I have listed all cases in which I have     ☒ Yes              ☐ No
 been admitted pro hac vice this district in the
 previous 5 years.
 I certify that I do not maintain a law office in Utah.     ☒ Yes              ☐ No

 I certify that the foregoing is true and correct           ☒ Yes              ☐ No
 and is subject to the penalty of perjury.

Under DUCivR 83-1.1(d)(2) you must register to efile to receive electronic notification of case
activity. Please visit the court’s Attorney Admissions webpage for instructions.


_______________________________                             Feb. 7, 2024
                                                            _____________________
Signature                                                   Date




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